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                 CONTINUATION OF CRIMINAL COMPLAINT

      I, Joshua Filz, being duly sworn, state as follows:

                        Background and Proposed Charges

      1.     I am a Special Agent with Homeland Security Investigations (HSI) and
have been so employed since April 2021. Before joining HSI, I worked for the
Michigan State Police (MSP) as a Detective Trooper on the Upper Peninsula
Substance Enforcement Team (UPSET) from March 2016 until April 2021. I
graduated from the MSP Training Academy in 2012 and was appointed to the
Calumet Post, where I served as a trooper for approximately six months, before
transferring to the Wakefield Post, where I served as a trooper for approximately
three years. In 2016, I was assigned to UPSET, and received Special Deputation as
a Task Force Office (TFO) from the Federal Bureau of Investigations (FBI), serving
as a member of the Upper Peninsula Safe Trails Task Force (UPSTTF). In 2018, I
attended HSI TFO training, and upon completion was deputized as an HSI TFO for
the Border Enforcement Security Team (BEST). As an UPSET detective, my primary
law enforcement mission was to investigate and interdict drug trafficking impacting
the Upper Peninsula of Michigan. As a Special Agent, I have the authority to seek
and execute federal process, to include search warrants and criminal complaints,
under Titles 18 and 21 of the United States Code.

        2.     I have attended numerous trainings with a focus on investigating drug
crimes from various agencies and training centers, including the Federal Law
Enforcement Training Center, MSP, U.S. Drug Enforcement Administration, HSI,
Northeast Counter Drug Training Center, North Central HIDTA, US Attorney’s
Office – Western District of Michigan, and National White-Collar Crime Center.
Through my training and experience, I have become familiar with the identification
of illegal controlled substances, including methamphetamine, and I am familiar with
illegal drug terminology, packaging, and trafficking methods. I have taken part in
hundreds of narcotics investigations and have drafted numerous search warrants
related to narcotics trafficking, manufacturing, and use.

      3.     The information set forth in this complaint is based upon my personal
knowledge, my training and experience, and participation in the investigation
described below, as well as information provided to me by witnesses, and other law
enforcement officers. The information outlined below is provided for the limited
purpose of establishing probable cause to support issuance of a criminal complaint
and arrest warrant, and it does not contain all of the details or all of the facts of which
I am aware relating to this investigation.

       4.     I submit that the facts set forth in this continuation establish probable
cause to believe that, on or about December 15, 2022, in Kent County, in the Western
District of Michigan, Ramond Jamal BRODEN a/k/a “Chris” knowingly and



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intentionally possessed with intent to distribute methamphetamine, a Schedule II
controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C). Accordingly,
I respectfully request that this Court authorize a criminal complaint and issue a
warrant for BRODEN’s arrest.

                       Facts Establishing Probable Cause

      5.     On December 15, 2022, Michigan Department of Corrections (MDOC)
Absconding Recovery Unit, U.S. Marshals Fugitive Team, and Kentwood Detectives
were conducting surveillance outside of a known address on Prince Albert St SE in
the City of Kentwood, in Kent County, MI, attempting to locate a parole absconder.
While conducting surveillance, a Jeep Grand Cherokee, which based on a Michigan
Secretary of State records check through LEIN is registered to Ramond BRODEN,
pulled in front of the address, and CD (the parole absconder), exited the residence,
and entered the passenger side of the Jeep. Officers were familiar with BRODEN
and learned through LEIN that BRODEN had a warrant for his arrest.

      6.     MDOC Agents and the Marshals Team converged on the vehicle to
apprehend BRODEN and CD, on their outstanding warrants. CD exited the Jeep
and was taken into custody. A search of CD yielded three bags of a white crystalline
substance consistent with the appearance of methamphetamine, which also field
tested positive as methamphetamine, totaling a combined packaged weight of
approximately 228.2 grams.

      7.     As investigators arrested CD, BRODEN attempted to flee in his Jeep,
and collided with a police vehicle. BRODEN then got out of the Jeep and fled on foot.
GRPD Officer Joseph Garrett observed BRODEN reaching into his waistband as
BRODEN started running. An investigator caught and tackled BRODEN, at which
time investigators arrested him. During a search of BRODEN, investigators found
$16,710.00 U.S. currency.

      8.      Officer Garrett and Officer Romero followed the path BRODEN fled,
looking for a possible firearm and contraband. Officers spoke with a contractor, who
was working on a trailer-home, approximately fifty yards east of the known address
on Albert St. SE. The contractor advised that during the foot chase, he saw BRODEN
running at him with a pistol in his hand, so the contractor “took cover”.

       9.    While officers were searching the area for the gun, the contractor located
the gun near the front edge of the opening, underneath the trailer where he was
repairing the plumbing. The contractor advised that the pistol was not there before
BRODEN ran by. Deputy U.S. Marshal Fernandez recovered the pistol, which was
loaded with nine rounds of ammunition, three of which were hollow-point rounds and
one of which was in the chamber. An investigator later identified the pistol as a 9mm
SCCY, Model: CPX-2, bearing serial number: 372968.

      10.    Kentwood Police Department impounded BRODEN’s Jeep and


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conducted an inventory search of the vehicle. In the center console, detectives located
a large baseball sized bag of methamphetamine, which field-tested positive as
methamphetamine. In the driver’s compartment area, detectives located $514 U.S.
currency. In the driver’s door, detectives located a digital scale. Detectives also
seized six iPhones believed to belong to BRODEN, located in the driver’s
compartment area and center console. In the trunk of the vehicle, detectives located
a money counter. In the back seat on the driver’s side, detectives located a grocery
bag with four large bags containing a white crystalline substance, consistent with the
appearance of methamphetamine, which also field tested positive as
methamphetamine. The methamphetamine weighed 1,273.3 grams with packaging.

      11.    Based on my training and experience, 1,273.3 grams of
methamphetamine is a quantity indicative of possession with intent to distribute
methamphetamine. Furthermore, in my training and experience, the possession of
bulk U.S. currency by BRODEN shows additional evidence of drug sales.

                                    Conclusion

      12.     I respectfully submit that the facts set forth above establish probable
cause to believe that on December 15, 2022, in Kent County, in the Western District
of Michigan, Ramond Jamal BRODEN, a/k/a “Chris”, knowingly and intentionally
possessed with intent to distribute methamphetamine, a Schedule II controlled
substance, in violation of 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(C).




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